

Per Curiam.

Since it was disclosed to plaintiff that the printing job was being done for Watko Manufacturing Corp., it became plaintiff’s duty to make inquiry as to who would pay for it, and having faffed to exact a promise from defendants *588that they would pay for it or that they would be liable for it, plaintiff must look to the disclosed principal, Watko Manufacturing Corp., for payment (see Wright v. Cabot, 89 N. Y. 570).
The judgment should be reversed, with $30 costs, and complaint dismissed on the merits, with costs. Appeal from order dismissed.
Concur — Steuer, J. P., Hofstadter and Aurelio, JJ.
Judgment reversed, etc.
